        Case 1:19-cv-01328-EGB Document 33 Filed 09/20/19 Page 1 of 2




             In the United States Court of Federal Claims
                                      No. 19-1328C
                               (Filed: September 20, 2019)

**************************

WINSTON-SALEM INDUSTRIES
FOR THE BLIND, INC., d/b/a IFB SOLUTIONS,

                            Plaintiff,

v.

THE UNITED STATES,

                            Defendant,

and

PDS CONSULTANTS, INC.,

                            Intervenor.

**************************

                                          ORDER

       Plaintiff, Winston-Salem Industries for the Blind, d/b/a IFB Solutions (“IFB”)
contests a United States Department of Veterans Affairs (“VA”) decision to override the
automatic stay1 required by the Competition in Contracting Act (“CICA”), 31 U.S.C. §
3553 (2012), arguing that VA’s decision was an irrational, arbitrary, and capricious abuse
of discretion. On August 30, 2019, plaintiff filed its motion for immediate declaratory and
injunctive relief.




1
  On August 27, 2019, VA issued its Determination and Findings in which it decided to
override the CICA stay triggered by IFB’s August 13, 2019 pre-award protest with GAO,
resulting in the award of a sole source contract to PDS Consultants, Inc., effective August
31, 2019.
        Case 1:19-cv-01328-EGB Document 33 Filed 09/20/19 Page 2 of 2



       Pursuant to the United States Government Accountability Office’s (“GAO”)
September 18, 2019 decision2 dismissing IFB’s protest, plaintiff’s motion in this case is
rendered moot as GAO’s dismissal of IFB’s protest eliminates the CICA stay. As such, this
case is dismissed without prejudice. Clerk of the Court is directed to enter judgment
accordingly.


                                         s/Eric G. Bruggink
                                         ERIC G. BRUGGINK
                                         Senior Judge




2
 GAO concluded that IFB’s suit before the District Court for the District of Columbia
addresses the same matter challenged in the protest in GAO’s office, thus dismissal is
warranted.
